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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                 :
KRISTIN MARTONIK,                                :
                                                 :
                       Plaintiff,                :
                                                 :    CIVIL ACTION
        v.                                       :
                                                 :    NO.: 1:17-cv-00306-SPB
UNITED OF OMAHA LIFE                             :
INSURANCE COMPANY,                               :
                                                 :
                       Defendant.                :
                                                 :

     JOINT MOTION FOR EXTENSION OF DISSPOSITIVE MOTION DEADLINES

        COME NOW, Plaintiff, Kristin Martonik by and through her counsel Lawrence Chaban,

Esquire and Defendant, Untiled of Omaha Life Insurance Company respectfully requesting an

extension of the dispositive motion filing deadlines and aver as follows:

        1.      The following Case Management Conference in this ERISA matter took place on

March 27, 2018 and the following dispositive motion deadlines were set:

                a. Dispositive Motions with Brief due:       September 28, 2018;
                b. Responses due:                            October 19, 2018.

See Docket No. 13.

        2.      After conferring, the undersigned counsel have agreed to seek leave of the Court

for an extension of time to file dispositive motions in this matter which will ultimately be

decided via cross-motions for summary judgment on a closed administrative record.

        3.      The undersigned counsel propose the following revised dates for dispositive

motions with additional time for the response in light of the Thanksgiving holiday:

             a. Dispositive Motions with Brief due:          November 9, 2018;
             b. Responses due:                               December 9, 2018.



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        4.     No other deadlines are affected by the extension.


        WHEREFORE the Parties respectfully request the Court issue an order in the form
attached.


/s/Lawrence R. Chaban                           /s/Salvatore A. Clemente
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